                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE

 UNITED STATES OF AMERICA,                    )
                                              )
              Plaintiff,                      )
                                              )
 v.                                           )      No.:   3:13-CR-84-TAV-CCS-4
                                              )
 LACEY WELD,                                  )
                                              )
              Defendant.                      )

                      MEMORANDUM OPINION AND ORDER

       This criminal case is before the Court on the defendant’s motion for a sentence

 reduction [Doc. 297]. In the defendant’s motion, the defendant requests that the Court

 resentence her pursuant to 18 U.S.C. § 3582(c)(2) and in accordance with Amendment

 782 and Amendment 788 to the United States Sentencing Guidelines Manual. The

 government has responded [Doc. 299]. The government defers to the Court’s discretion

 whether and to what extent to grant any such reduction, subject to the limitations of 18

 U.S.C. § 3582(c)(2) and section 1B1.10 of the United States Sentencing Guidelines

 Manual.

 I.    Standard of Review

       “Federal courts are forbidden, as a general matter, to modify a term of

 imprisonment once it has been imposed, but the rule of finality is subject to a few narrow

 exceptions.” Freeman v. United States, 131 S. Ct. 3685, 2690 (2011) (internal citation

 and quotation marks omitted). One exception is identified in 18 U.S.C. § 3582(c)(2):

       [I]n the case of a defendant who has been sentenced to a term of
       imprisonment based on a sentencing range that has subsequently been


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       lowered by the Sentencing Commission . . . , the court may reduce the term
       of imprisonment, after considering the factors set forth in section 3553(a) to
       the extent that they are applicable, if such a reduction is consistent with
       applicable policy statements issued by the Sentencing Commission.

 The United States Supreme Court has interpreted § 3582(c)(2) as setting forth two

 requirements for a sentence reduction. First, “the defendant [must] ha[ve] been sentenced

 to a term of imprisonment based on a sentencing range that has subsequently been

 lowered by the Sentencing Commission[.]” United States v. Riley, 726 F.3d 756, 758 (6th

 Cir. 2013) (internal quotation marks and citation omitted). Second, “such reduction

 [must be] consistent with applicable policy statements issued by the Sentencing

 Commission.” Id. (internal quotation marks omitted). If the reviewing court determines

 that the defendant is eligible for a sentence reduction, then “[t]he court may then

 ‘consider whether the authorized reduction is warranted, either in whole or in part,

 according to the factors set forth in § 3553(a).’” United States v. Thompson, 714 F.3d

 946, 949 (6th Cir. 2013) (quoting Dillon v. United States, 560 U.S. 817, 826 (2010)).

       In determining whether a defendant has been sentenced to a term of imprisonment

 based on a sentencing range that has subsequently been lowered by the Sentencing

 Commission, the Court must first determine “the amended guideline range that would

 have been applicable to the defendant had the relevant amendment been in effect at the

 time of the initial sentencing.” Dillon, 560 U.S. at 827 (internal quotation marks and

 citation omitted); see also U.S. Sentencing Guidelines Manual § 1B1.10(b)(1). Other

 than substituting Amendment 782 for the corresponding provision applicable when the

 defendant was originally sentenced, the Court “shall leave all other guideline application
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 decisions unaffected.” Id. And the Court “shall not” reduce a defendant’s term of

 imprisonment to a term “less than the minimum of the amended guideline range,” nor to a

 term “less than the term of imprisonment the defendant has already served.”              Id.

 § 1B1.10(b)(2)(A), (C).   Section 1B1.10 provides one exception to the rule that a

 defendant may not receive a sentence below the amended guideline range—namely, if the

 defendant originally received a below-guideline sentence “pursuant to a government

 motion to reflect the defendant’s substantial assistance to authorities.” U.S. Sentencing

 Guidelines § 1B1.10(b)(2)(B).     In such cases, the Court may grant “a reduction

 comparably less than the amended guideline range.” Id.

       In addition to these limits, section 1B1.10 states that a court must also consider the

 § 3553 factors and the danger to the public created by any reduction in a defendant’s

 sentence. Id. at cmt. n.1(B). A court may further consider a defendant’s post-sentencing

 conduct. Id.

 II.   Factual Background

       The defendant pleaded guilty to conspiracy to manufacture fifty grams or more of

 methamphetamine, in violation of 21 U.S.C. §§ 846, 841(a)(1), (b)(1)(A) [Doc. 76]. At

 the time of sentencing, the defendant agreed to be held responsible for personally

 purchasing at least 150 grams of pseudoephedrine, which converts to 1,500 kilograms of

 marijuana, and for an offense level of 32 [Presentence Investigation Report (“PSR”) ¶

 21]. The defendant received a six-level enhancement for specific offense characteristics

 and a three-level reduction for acceptance of responsibility pursuant to section 3E1.1(a)

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 and (b), which resulted in a total offense level of 35 [Id. ¶¶ 22–30].         Given the

 defendant’s criminal history category of IV, the defendant’s applicable guideline range

 was 235 to 293 months’ imprisonment [Id. ¶ 44].

        Before sentencing, the United States filed a motion for downward departure in

 light of the defendant’s substantial assistance [Doc. 210]. On July 16, 2014, the Court

 granted that motion and sentenced the defendant to 151 months’ imprisonment, which is

 35.7% percent below the guidelines range [Doc. 226]. The defendant appealed this

 Court’s judgment to the United States Court of Appeals for the Sixth Circuit [Doc. 228],

 and the Sixth Circuit granted the government’s motion to dismiss the defendant’s appeal

 [Doc. 266]. The Supreme Court denied the defendant’s writ of certiorari [Doc. 269].

 The defendant’s pro se motion to vacate pursuant to 28 U.S.C. § 2255 [Doc. 272] is

 currently pending before this Court. According to the government, the defendant is

 presently scheduled for release on August 31, 2024 [Doc. 299 p. 3].

 III.   Analysis

        Amendment 782 to the Guidelines, which became effective on November 1, 2014,

 revised the Guidelines applicable to drug-trafficking offenses by reducing by two levels

 the offense levels assigned to the drug quantities described in section 2D1.1. U.S.

 Sentencing Guidelines Manual App. C, amend. 782.          Amendment 782 also makes

 corresponding changes to section 2D1.11. Amendment 788, which became effective on

 November 1, 2014, as well, identified Amendment 782 as retroactive. U.S. Sentencing

 Guidelines Manual App. C, amend. 788.

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       Applying Amendment 782, the defendant’s revised base offense level is 30, and

 affording the defendant the same adjustments the defendant originally received, the

 defendant’s new total offense level is 33.        U.S. Sentencing Guidelines Manual

 § 1B1.10(b)(1). A total offense level of 33 and a criminal history category of IV results

 in an amended guideline range of 188 to 235 months’ imprisonment. Thus, the defendant

 was sentenced to a term of imprisonment based on a sentencing range that has

 subsequently been lowered by the Sentencing Commission.

       Next, the Court must determine whether a sentence reduction is consistent with

 applicable policy statements issued by the Sentencing Commission. See U.S. Sentencing

 Guidelines Manual § 1B1.10.        “[T]o satisfy the second requirement, a guidelines

 amendment must have had the effect of lowering the defendant’s applicable guideline

 range.” Riley, 726 F.3d at 758 (internal quotation marks and citations omitted). As

 discussed, that is the case here. And it would be consistent with the applicable policy

 statements to sentence the defendant below the “minimum of the amended guideline

 range” because the defendant previously received a below-guidelines range sentence

 “pursuant to a government motion to reflect the defendant’s substantial assistance to

 authorities.” U.S. Sentencing Guidelines Manual § 1B1.10(b)(2)(A), (B).

       The Court will now consider the § 3553(a) factors in determining whether and to

 what extent the defendant’s sentence may be reduced. As an initial matter, the Court

 determines that factors similar to the ones that applied at the defendant’s initial

 sentencing also apply at this time. Even so, in regard to these factors and in the context

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 of the instant motion, the Court has considered the nature and circumstances of the

 defendant’s offense(s) and the defendant’s history and characteristics.

        The Court has also considered the need for the sentence imposed to reflect the

 seriousness of the offense, to promote respect for the law, to provide just punishment for

 the offense, to afford adequate deterrence, to protect the public from further crimes of the

 defendant, and to provide the defendant with needed education and training, medical

 care, or other correctional treatment.1 Further, the Court has considered the kinds of

 sentences available and the sentencing range, the need to avoid unwarranted disparities,

 and the need to provide restitution to any victims. See 18 U.S.C. § 3553(a). And the

 Court has considered the danger to the public as the result of any reduction in the

 defendant’s sentence, the seriousness of the defendant’s offenses, and the need to protect

 the public. See U.S. Sentencing Guidelines Manual § 1B1.10, cmt. n.1(B)(ii).

        The government informs the Court that the defendant has not incurred any

 disciplinary sanctions while incarcerated, and it has no information to present in

 opposition to a sentence reduction under Amendment 782 [Doc. 299 pp. 3–4]. The

 government states that it defers to the Court’s discretion whether to grant a reduction in

 the defendant’s sentence, and, if so, to what extent [Id. at 4]. It informs the Court that a

 35.7-percent reduction below the amended guidelines range yields a term as low as 121

 months’ imprisonment [Id. at 3].


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          The Court, however, is not intending to, and is not, imposing or lengthening the
 defendant’s sentence to enable the defendant to complete a treatment program or otherwise
 promote rehabilitation. See generally Tapia v. United States, 131 S. Ct. 2382 (2011).
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        Accordingly, after considering section 1B1.10 and the relevant § 3553(a) factors,

 the Court finds a reduction in the defendant’s sentence to be appropriate. The Court will

 reduce the defendant’s sentence in accordance with the amended guidelines range and by

 an amount “comparably less than the amended guideline range.”            U.S. Sentencing

 Guidelines Manual § 1B1.10(b)(2)(B).        In making this determination, the Court is

 particularly influenced by the changes in offense levels affected by Amendment 782.

 The Court has also taken into consideration the risk the defendant poses to public safety,

 the nature and circumstances of the defendant’s offense(s), the defendant’s personal

 characteristics, criminal history, and post-sentencing conduct.

 IV.    Conclusion

        For the reasons stated herein, the defendant’s motion [Doc. 297] is GRANTED

 and the defendant’s sentence is REDUCED to 121 months’ imprisonment. If this

 sentence is less than the amount of time the defendant has already served, the sentence

 shall be reduced to a “time served” sentence.        U.S. Sentencing Guidelines Manual

 § 1B1.10(b)(2)(C).

        Except as otherwise provided in this order, all provisions of the judgment dated

 July 16, 2014 [Doc. 226], shall remain in effect.

        IT IS SO ORDERED.


                                    s/ Thomas A. Varlan
                                    CHIEF UNITED STATES DISTRICT JUDGE



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